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WESTERN DISTRICT OF TENNESSEE 135 JUL _~] PM h 2 l
Western Division

    

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UNITED sTATEs oF AMERICA CLE.G:»:, ii “< st COUHT
W.f‘-J o in i,lEt"jPH|S
-vs- Case No. 2:05cr20223-3-Ml
CHRIsToPHER L. FRANKS

 

ORDER OF DETENT|ON PENDING TRIAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention heating may be filed at a later date.

DlRECTlONS REGARD|NG DETENTION

CHRISTOPHER L. FRANKS is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. CHRISTOPHER L. FRANKS shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection with a Court proceeding

'_____,_..
Date: July 6, 2005 /A J
S. THOMAS ANDERSON

UNITED STATES MAGISTR.ATE IUDGE

This document entered on the docket shea in cgmpltance //FM\
with Ftu|e 55 and/or 32(b) FRCrF on

   

UNITED sTATE DISTRIC COURT - W"'RNTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
.luly 8, 2005 to the parties listed.

 

 

Michael Edvvin Scholl

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David Charles Henry

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167 N. l\/lain St.

Ste. 800

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Honorable J on l\/lcCalla
US DISTRICT COURT

